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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

  NISSA AVILA,

                 Plaintiff,

         v.                                             CASE NO.: 8:10-cv-02494-VMC-
  AEP


  FIRST SOURCE ADVANTAGE, LLC.,

              Defendant.
  ____________________________________/

                      STIPULATION OF DISMISSAL WITH PREJUDICE
                                AND PROPOSED ORDER

         Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), Plaintiff, NISSA AVILA, and Defendant,

  FIRST SOURCE ADVANTAGE, LLC., stipulate, and the Court hereby orders, as

  follows:

         The dispute between the parties has been settled; therefore, the claims asserted by

  Plaintiff, NISSA AVILA, against Defendant, FIRST SOURCE ADVANTAGE, LLC., in

  the above-captioned proceeding are hereby dismissed, with prejudice, pursuant to Fed. R.

  Civ. P. 41(a)(1)(ii), with each party to bear its own attorney’s fees and costs.


  Dated: June 29, 2011                                  RESPECTFULLY SUBMITTED,

                                                  By: _/s James Pacitti____________
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  Dated: June 29, 2011                     RESPECTFULLY SUBMITTED,

                                      By: _/s/ Dale T. Golden
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